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UNITED STATES BANKRUPTCY COURT
SOUTHERN DISTRICT OF NEW YORK
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In re:                                                      Case No: 21-11298-LGB
         286 Rider Ave Acquisition LLC,                     Chapter 11

                                             Debtor.
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   ORDER ON MOTION OF 286 RIDER AVE DEVELOPMENT LLC PURSUANT TO
    FEDERAL RULE OF BANKRUPTCY PROCEDURE 9023 AND FEDERAL RULE
      OF CIVIL PROCEDURE 60 FOR RELIEF FROM ORDER PURSUANT TO
    BANKRUPTCY RULE 2004 AUTHORIZING DISCOVERY EXAMINATIONS OF
              (i) TOBY MOSKOVITS AND (ii) MICHAEL LICHTENSTEIN

         On July 16, 2021, the Court entered the Order Granting 286 Rider Ave Acquisition LLC’s
Ex Parte Motion for Entry of an Order Pursuant to Bankruptcy Rule 2004 Authorizing Discovery
Examinations of (I) Toby Moskovits and (II) Michael Lichtenstein docketed at ECF No. 5 (“2004
Order”).

         On August 12, 2021, 286 Rider Ave Development LLC filed the Motion of 286 Rider Ave
Development LLC Pursuant to Federal Rule of Bankruptcy Procedure 9023 and Federal Rule of
Civil Procedure 60 for Relief from Order Pursuant to Bankruptcy Rule 2004 Authorizing
Discovery Examinations of (I) Toby Moskovits and (II) Michael Lichtenstein docketed at ECF
No. 20 (the “Motion”). On August 19, 2021, 286 Rider Ave Acquisition LLC filed an objection
to the Motion docketed at ECF No. 28.

         On August 30, 2021, the Court held a hearing on the Motion.

It is hereby ORDERED as follows:

     1. The Motion is denied for the reasons stated on the record.
     2. The document request deadlines set forth in the 2004 Order are extended to September 3,
         2021, at 5:00 p.m. (ET).
     3. The parties shall promptly meet and confer regarding scheduling examinations under
         oath for Toby Moskovits and Michael Lichtenstein and attempt to agree on dates for
         such examinations by September 3, 2021. In the event that the parties are unable to
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      agree upon dates for such examinations under oath, the parties will contact the Court and
      request a status conference.
   4. Except as set forth herein the terms and conditions of the 2004 Order shall remain
      unchanged and in full force and effect.

Dated: New York, New York
       August 30, 2021
                                                  /s/ Lisa G. Beckerman
                                                  HON. LISA G. BECKERMAN
                                                  U.S. BANKRUPTCY JUDGE
